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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/




                  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                      MOTION FOR PARTIAL SUMMARY JUDGMENT
                 ON THE ISSUE OF PLAINTIFFS’ STATUS AS PUBLIC FIGURES

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         Ever since it gained popularity and became a household presence, the Internet has
         been elevating questions regarding the exposure of personal and business data.
         The creation of SecureVPN was to introduce a unique version of online safety and
         help with internet protection. The company focuses on safeguarding users who are
         conscious of their sensitive data and patterns online.

  Ex. 33; SUMF ¶ 21. Another release claimed that “[t]he acquisition of DDoS.com combined
  with the expertise developed by all the companies under the XBT umbrella in dealing with
  threats to security, including DDoS attacks, guarantees a service that will make the online world
  a safer place.” SUMF ¶ 22. Mishra explained that XBT’s purpose for DDoS.com was to “create
  a forum so that we can educate the people” about online safety. SUMF ¶ 23. Plaintiffs’
  executives also began granting interviews to trade publications covering the internet hosting
  industry.4 SUMF ¶ 24.
  III.   PLAINTIFFS ACTIVELY SEEK COVERAGE IN THE AMERICAN MEDIA BY
         PROMOTING THEMSELVES AS TECHNOLOGY “THOUGHT LEADERS”

         In 2015, Plaintiffs decided to more aggressively inject themselves into media discussions
  about web-related technology, especially in U.S.-based media and particularly about topics
  relating to the Russian cyber-world. Plaintiffs hired an American public relations (“PR”) firm,
  Cutler PR. Cutler was charged with soliciting journalists to write articles about the company and
  its executives, particularly a new brand that XBT was launching, Servers.com. SUMF ¶ 25; Ex.
  38 at 45:21-48:14. The PR strategy Plaintiffs pursued involved much more than standard press
  releases announcing the company’s products, finances, or internal news. Rather, Cutler aimed to
  establish the company and its executives more broadly as “Thought Leaders” about issues related
  to technology. SUMF ¶ 26.
         Cutler thus undertook to “pitch top list, feature, trend and op-ed stories” to the media,
  targeting both major general business media like CNN Money, Bloomberg, Forbes and Reuters
  and leading publications focusing on technology like VentureBeat, CNET and Gizmodo. SUMF
  ¶ 27. XBT also aimed to “raise key executives profiles with bylined articles” that Cutler pitched
  to news editors to publish. SUMF ¶ 28. Those articles were “not product specific, and they are
  not generally profile stories of the company.” Rather, Plaintiffs’ goal was to establish


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    See, e.g., Ex. 36 (“Webzilla has years of experience working with leaders in the FX industry
  . . .”); Ex. 37 (“In 2013, XBT Holding S.A. began the creation of Servers.com . . . Nick Dvas,
  Project Manager for Servers.com, recently spoke with Linux.com about the company . . .”).


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  “credibility” with journalists so that “the press will seek commentary on timely topics.”
  SUMF ¶ 29.
         Cutler pitched multiple publications like Forbes and persuaded editors to publish several
  op-ed articles under the byline of one of the company’s executives, Nikolai Dvas, such as an
  article published by CNBC.com on why Luxembourg (where XBT had a headquarters) is an
  attractive place to do business. SUMF ¶ 30. Luxembourg’s Prime Minister re-posted the article
  on the government’s Twitter feed, which Dvas thought was “good publicity.” Id. Cutler also
  persuaded Inc., another prestigious business publication, to list Servers.com as one of “18 Tech
  Companies to Get Excited About”, noting that it “boasts super-secure” servers. SUMF ¶ 31.
  IV.    PLAINTIFFS PROMOTE THEIR ENTRY INTO RUSSIA TO FACILITATE
         COMPLIANCE WITH CONTROVERSIAL RUSSIAN DATA PRIVACY LAWS

         In 2015 Plaintiffs began to expand their business to Russia itself. Russia had just enacted
  a highly controversial data privacy law requiring that the data of all Russian citizens be stored
  within Russia. SUMF ¶ 32. Critics saw it as an effort by Putin’s government to assert control
  over information flowing in and out of Russia. SUMF ¶ 33. However, Plaintiffs viewed the new
  law as a business opportunity. SUMF ¶ 34.
         XBT purchased an existing Russian company (“Edinaya Set”) to establish data center
  presence in Russia. SUMF ¶ 32. XBT issued press releases emphasizing how the new law
  relates to its services, and its executives spoke to the press about the Russian law and XBT’s
  entry into Russia. SUMF ¶¶ 35, 36; Ex. 47 (“the move enables XBT to deploy its solutions to
  the local market in observance of the legal standards of the Russian Federation”); Ex. 52 (XBT
  “provides the platform for businesses who maintain presence in Russia, as such entities are
  legally required to store personal data within Russia’s physical borders.”); Ex. 54 (XBT
  “launch[ed] local versions of XBT services in compliance with Russian legislation.”). Gubarev
  even publicly defended the controversial law: “It is worth noting that the law on personal data in
  Russia is not unique, such provisions exist in other countries.” Ex. 53.
         Plaintiffs also generated publicity about their launch in Russia in a variety of other ways.
  They asked Cutler to “[p]itch info about opening of Russia office to U.S. media who might be
  able to cover it.” Ex. 56; SUMF ¶ 37. Plaintiffs held a press conference in Moscow, which
  generated coverage in the Russian media. SUMF ¶ 38; Ex. 57 (“Aleksej Gubarev launches
  Servers.ru hosing in Russia”).” Gubarev claimed the company offered “the fastest network in



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  Russia” and “the most powerful hardware in Russia.” SUMF ¶ 40. Dvas even invited German
  Klimenko, President Putin’s advisor on internet matters, to attend. SUMF ¶ 39.
         Plaintiffs continued to generate press in Russia throughout 2016. SUMF ¶¶ 36, 38, 41.
  In interviews, Gubarev asserted that Plaintiffs’ entry into Russia was a transformative
  development in the internet industry there. SUMF ¶ 41; Ex. 53 (“The main event of the year [is]
  our entry into the Russian market, as well as the launch and incredible success of our partner
  Prisma AI.”); Ex. 54 (Gubarev said the launch of his companies “will become the foundation for
  the development of international potential [in] the Russian market.”). Gubarev also commented
  on the importance of security safeguards against botnets. SUMF ¶ 42; Ex. 53 (“It is interesting,
  if earlier botnets infected home computers, now the same thing happens more often with cloud
  servers. According to our data . . . control and security are key factors in making decisions on
  choosing a host.”).
         In 2016, Gubarev also spoke at the Russian Internet Forum about “trend[s] in the
  infrastructure of the global and Russian internet.” SUMF ¶ 43. The Forum is the “biggest
  Russian internet event” and was attended by key Russian officials including Klimenko, whom
  Gubarev met there. SUMF ¶ 44; Ex. 61. Servers.ru (the company’s brand name in Russia) was a
  sponsor of the event. SUMF ¶ 45. Subsequently, XBT’s marketing director lobbied Klimenko
  to secure Gubarev an opportunity to speak about “cyber-security” at the 2016 St. Petersburg
  International Economic Forum (“SPIEC”). SUMF ¶ 46. The SPIEC is organized by Putin as
  “a leading global platform for members of the business community to meet and discuss the key
  economic issues facing Russia, emerging markets, and the world as a whole.” SUMF ¶ 47.
  V.     PLAINTIFFS ACCELERATE THEIR EFFORTS TO OBTAIN MEDIA
         COVERAGE AS EXPERTS ON RUSSIA-RELATED TECHNOLOGY ISSUES

         Although Plaintiffs had been featured in high-profile publications like CNBC.com and
  Inc., Plaintiffs thought that Cutler was not being aggressive in generating coverage in media that
  was sufficiently “popular.” SUMF ¶ 48. So they looked for a replacement that could “maintain
  persistent citation level across business media with company news or experts’ comments.”
  SUMF ¶ 48. The company retained KGlobal, a PR firm based in Washington, D.C. SUMF ¶ 49.
         In July 2016, a KGlobal team conducted a “full-day media training” for Gubarev and
  other executives, focused on “how to talk to a journalist.” SUMF ¶ 50. KGlobal focused heavily
  on pitching Gubarev to journalists as an industry “thought leader” and “expert,” especially on



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  matters related to Russian and technology. SUMF ¶¶ 51, 54. As KGlobal explained, “Pitching
  Alex as a thought leader means longevity . . . introducing Alex is very important and crucial in
  building rapport with editors, bringing awareness to Servers.com and establishing Alex as
  credible and a great resource that can be called upon for his expertise.” Ex. 67 at 3; see also Ex.
  68. And Gubarev specifically requested that “my name will be in publication as well.” Ex. 139;
  SUMF ¶ 52.
            KGlobal reached out to news organizations like Bloomberg, Associated Press, Gizmodo,
  TechCrunch and many others to solicit interviews with Gubarev. SUMF ¶ 53. It quickly
  secured interviews with Bloomberg, Business Insider, and Tech Insider, which resulted in
  articles published in Business Insider and VentureBeat. SUMF ¶ 55. To attract interviews,
  KGlobal also publicized Plaintiffs’ role in the development of Prisma, a Moscow-based photo-
  processing application which was downloaded by 70 million customers. See, e.g., Ex. 76.
            To pitch Gubarev as a “thought leader,” KGlobal told reporters that:
            We want to introduce a successful young Russian entrepreneur whose global
            company is based in the European Union. Aleskey Gubarev, CEO of XBT
            Holding and CEO of the unique company servers.com . . . He is also a great
            resource for stories about the Russian tech, startup, and entrepreneur scene . . .
            and general startup/business/entrepreneur tips and advice.

  Ex. 69; SUMF ¶ 54. KGlobal made this pitch to The Wall Street Journal, Forbes, PC Magazine,
  TechCrunch, CNN, San Francisco Chronicle, Milwaukee Journal Sentinel, Fortune and many
  others, and noted that “Aleksej was named a finalist by Ernst Young’s Russia’s Entrepreneur of
  the Year.” SUMF ¶ 54. The pitch even came with a photo:




  Ex. 71.
            As a result, Gubarev was interviewed by Forbes and by Bloomberg once again, had


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  interviews scheduled with the Wall Street Journal, and sat for a 20-minute podcast focused on
  his personal story as a sort of Russian Horatio Alger titled “Biggest Lesson of Growing a
  Company with Aleksej Gubarev.” SUMF ¶ 55. KGlobal described that podcast series as “the #1
  mobile app podcast” at the time. Id.
  VI.       PLAINTIFFS COMMENT ON THE 2016 U.S. PRESIDENTIAL ELECTION
            Plaintiffs’ efforts to promote Gubarev as a go-to expert on Russian tech also resulted in
  him commenting on the 2016 election. On October 31, 2016, Slate published a story about
  cyber-contacts between Russia’s Alfa Bank and the Trump campaign. SUMF ¶ 56. Shortly
  thereafter, a Bloomberg reporter who knew Gubarev from a previous interview KGlobal had
  arranged reached out to him to ask:
            I don’t know if you came across [the Slate article]. It is a great scandal under
            American election campaign programme – ostensibly the server was registered
            on Donald Trump’s company, it was involved in some secret communications with
            servers of Russian Alpha [sic] Bank. Could you help to me to sort out technical details of
            what is described here?

  Ex. 88; SUMF ¶ 57; Ex. 86. Gubarev directed an employee of one of the Webzilla companies to
  analyze the technical claims in the Slate story. SUMF ¶ 58. Gubarev then e-mailed the reporter
  an “expert opinion” that was an annotated, paragraph-by-paragraph commentary as to “whether
  this is true or not.” Id. Plaintiffs’ “opinion about the article,” challenged the reliability of the
  conclusions in the Slate article. SUMF ¶ 59. Gubarev also made clear he wanted Plaintiffs to be
  identified in the article (“will we be referenced in the article?”) and told the reporter “if anything
  [else] comes up, you can write to us.” Ex. 86 at 34:10-23; SUMF ¶ 60.
            The resulting Bloomberg article, titled “Clinton Plugs Another Weak Story About
  Trump’s Ties to Putin,” called the accusations of collusion “a trumped-up story” that “is easily
  debunked.” SUMF ¶ 61. The article explained that:
            Another troubling aspect of the Foer article . . . Alexey Gubarev, chief executive
            officer of Luxembourg-registered XBT Holding, which owns the infrastructure-
            as-a-service provider Servers.com, told me there was no legitimate way to get
            access to the full logs of a server that you do not control.

  Ex. 81.

  VII.              PLAINTIFFS CONTINUE TO INJECT THEMSELVES INTO
            CONTROVERSY OVER

            Even though Plaintiffs had generated publicity in publications like Bloomberg, Business


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   name ended up in the report after he was quoted in a news report as an expert voicing doubt
   about allegations that surfaced during the 2016 presidential campaign that Mr. Trump maintained
   a secret server that may have been in communication with a Russian bank”); Ex. 120 (Dutch
   newspaper reporting, “Gubarev thinks that he appears in the report because he got involved in
   political affairs”).
                                              ARGUMENT
   I.      The First Amendment’s Public Figure Doctrine
           The public figure doctrine was created to give the press crucial “breathing space” to be
   able to report about newsworthy persons and controversies without fear of liability for mistaken
   facts. Tavoulareas v. Piro, 817 F.2d 762, 771 (D.C. Cir. 1987). “Determining whether an
   individual is a public figure – and thus subject to the actual malice analysis – is a question of law
   for the court to decide.” Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016).
           This Circuit’s law emphasizes two “fundamental differences between public and private
   figures.” Silvester v. Am. Broad. Cos., 839 F.2d 1491, 1494 (11th Cir. 1988). First, public
   figures “usually have greater access to the media . . . .” Id. (citing Gertz v. Robert Welch, Inc.,
   418 U.S. 323, 344 (1974)). See also Turner v. Wells, 879 F.3d 1254, 1272 (11th Cir. 2018)
   (“[T]he level of media access enjoyed by a particular claimant should be considered as part of
   the public figure calculus.”) (citation omitted). Second, public figures have “voluntarily placed
   themselves in a position and acted in a manner which invited public scrutiny and comment.”
   Silvester, 839 F.2d at 1494.
           The doctrine is thus predicated on a “voluntary assumption of risk” rationale. Brewer v.
   Memphis Publ’g Co., 626 F.2d 1238, 1254 (5th Cir. 1980). By electing to speak out in the press
   and other public fora about topics that impact the lives of others, public figures “accept the risk
   that the press, in fulfilling its role of reporting, analyzing, and commenting on well-known
   persons and public controversies, will focus on them and, perhaps, cast them in an unfavorable
   light.” Waldbaum v. Fairchild Publ’ns, Inc., 627 F.2d 1287, 1292 (D.C. Cir. 1980). At the same
   time, public figures’ access to the media gives them “a more realistic opportunity to counteract
   false statements than private individuals normally enjoy.” Gertz, 418 U.S. at 344.
           Contrary to what Plaintiffs maintain, Dkt. 208 at 12, this Circuit’s public figure analysis
   begins with a broader, two-step inquiry. First, the Court must consider whether Plaintiffs satisfy
   the two basic criteria for all public figures: whether prior to the publication at issue they had (1)



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   access to the media and (2) “voluntarily placed themselves in a position and acted in a manner
   which invited public scrutiny and comment.” Silvester, 839 F.2d at 1494. See also Turner, 879
   F.3d at 1272 (key criteria is whether a plaintiff “chose to put himself in the public arena”). After
   assessing those general factors, the second step in the public figure analysis is for the Court to
   determine which category of public figures may fit the plaintiffs. Id.
           As Plaintiffs correctly explain, the doctrine further differentiates between “general
   purpose” public figures (i.e., celebrities), and the far more common category, limited public
   figures, who “have thrust themselves to the forefront of particular public controversies in order
   to influence the resolution of the issues involved.” Gertz, 418 U.S. at 345. Plaintiffs are
   obviously not general public figures. Plaintiffs’ Motion obscures, however, the critical point that
   limited public figures need not be well known. Indeed, numerous plaintiffs who never sought
   nor achieved anything close to the media attention that Plaintiffs enjoyed prior to the Dossier’s
   publication have been deemed limited public figures.7 To determine whether Plaintiffs are
   limited-purpose public figures, “the court must (1) isolate the public controversy, (2) examine
   the plaintiffs’ involvement in the controversy, and (3) determine whether ‘the alleged defamation
   [was] germane to the plaintiffs’ participation in the controversy.’” Silvester, 839 F.2d at 1494
   (quoting Waldbaum, 627 F.2d at 1297).
   II.     Plaintiffs are Limited-Purpose Public Figures
           The record here presents a textbook example of what it means to be a limited public
   figure. First, Plaintiffs clearly satisfy the two basic Gertz criteria.




           Second, Plaintiffs also satisfy the applicable three-part test. Although in this context that
   alone would be enough, Plaintiffs Motion is mistaken in presuming that their public figure status
   in this case need turn solely on election commentary. Rather, well before that, Plaintiffs chose to
   seek public attention to


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     See, e.g., Little v. Breland, 93 F.3d 755 (11th Cir. 1996) (president of non-profit to attract
   conventions to Mobile, Alabama); Orr v. Argus-Press Co., 586 F.2d 1108 (6th Cir. 1978)
   (developer of shopping mall in Owosso, Michigan); Bourne v. Arruda, No. 10-cv-393, 2013 WL
   93637, at *2 (D.N.H. Jan. 8, 2013) (individual who sent letter to local newspaper for
   publication); James v. Gannett Co., 40 N.Y.2d 415 (1976) (nightclub belly dancer in Rochester,
   New York).


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                         That dynamic defines what it means to be a limited public figure. See, e.g.,
   Hatfill v. N.Y. Times Co., 532 F.3d 312, 323 (4th Cir. 2008) (“where an expert in a field claims
   defamation when a news publication later suggests he might have committed a crime relevant to
   that field,” the expert was a limited public figure).
          A.      Plaintiffs Satisfy the Two Basic Gertz Criteria
          First, the record establishes Plaintiffs’ access to the media prior to the Dossier’s
   publication. Plaintiffs, either directly or through their PR team, were in regular contact with
   multiple publications, like Bloomberg, Forbes, The Wall Street Journal, Business Insider, CNBC
   and CNN to name a few. Indeed, Plaintiffs’ international media reach was far more extensive
   than the handful of local newspaper articles and television reports related to the public figure
   plaintiff in Little. Moreover, like the plaintiff football coach in Turner, Plaintiffs actually “took
   advantage of [their] familiarity with the media” to respond to the Dossier. Turner, 879 F.3d at
   1272. In fact, just before the Dossier was published


          Likewise, Plaintiffs voluntarily “acted in a manner which invited public scrutiny and
   comment.” Silvester, 839 F.2d at 1494. Plaintiffs launched general media PR campaigns,
   reaching out to scores of journalists to solicit op-ed articles and interviews as “thought leaders”
   and self-described experts on “Russia tech.” Plaintiffs further invited media profiles of Gubarev
   as a Russian émigré with a Horatio Alger-like success story. Courts have consistently held that
   engaging in similar public relations efforts qualifies businesses and their executives as limited
   public figures.8


   8
     See, e.g., Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 17 (1st Cir. 2011) (plaintiffs who
   “enjoyed access to the press” and “orchestrat[ed] a PR blitz” were limited public figures);
   Patrick v. Cleveland Scene Publ’g, 582 F. Supp. 2d 939, 951 (N.D. Ohio 2008) (plaintiff who
   “retained a public relations firm to represent his interests in the controversy”), aff’d, 360 F.
   App’x 592 (6th Cir. 2009); Carr v. Forbes, Inc., 121 F. Supp. 2d 485, 492 (D.S.C. 2000)
   (plaintiff whose “group paid a lobbyist/public relations firm”), aff’d, 259 F.3d 273 (4th Cir.


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          B.      This Case Involves Several Pre-Existing Public Controversies
          Turning to the three-part test, a “public controversy” is “a dispute that in fact has received
   public attention because its ramifications will be felt by persons who are not direct
   participants.” Waldbaum, 627 F.2d at 1296; see also Silvester, 839 F.2d at 1495. Prior media
   reports are persuasive proof of a public controversy. Little, 93 F.3d at 758. And there may be –
   and frequently is – more than one controversy pertinent to the allegedly defamatory statements.
   Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 586 (D.C. Cir. 2016), cert. denied, 137 S. Ct. 1434
   (2017) (“a court may find that there are multiple potential controversies”); Little, 93 F.3d at 757-
   58 (finding two controversies); Waldbaum, 627 F.2d at 1297 n.27 (the same article can implicate
   “broad” and “narrow” controversies). Indeed, “courts often define the public controversy in
   expansive terms.” Jankovic, 822 F.3d at 586.9
          The allegations against Plaintiffs were in the last of Steele’s 17 memos. It is clear,
   however, that with rare exception each memo was neither written nor intended to be read in
   isolation. Each assumes knowledge of information from prior memos, even at times by cross-
   referencing them. For example, the last memo (No. 166) explains that it is merely adding details
   to the two memos that preceded it (Nos. 135/36). Those memos in turn assume knowledge of
   prior memos, and so on. See, e.g., No. 135 (containing “further confirmation” of reasons for
   Ivanov’s departure previously discussed in No. 111, as well as more information about “the
   exposure of [Carter] Page’s” meeting in Moscow, previously discussed in Nos. 94, 101 & 134);
   No. 111 (noting “the so-called veterans’ pensions ruse (reported previously)”).” BuzzFeed, of
   course, published all of the memos together.
          Steele’s second memo, written before he reported anything about alleged hacking of
   Democrats, focused entirely on explaining the broader phenomena of “Russia Cyber/Crime,”

   2001); FoodScience Corp. v. McGraw-Hill, Inc., 592 F. Supp. 362, 365-66 (D. Vt. 1984)
   (company that hired “public relations representative” in order “to influence and counter the
   adverse impact of the unfavorable publicity”).
   9
     See, e.g., Silvester, 839 F.2d at 1495 (public controversy over “corruption in the jai alai
   industry”); Dubai World Corp. v. Jaubert, No. 09-14314-CIV, 2011 WL 579213, at *15 (S.D.
   Fla. Feb. 9, 2011) (public controversies over “corporate fraud” and “whether or not foreigners
   are safe in Dubai”); Jankovic, 822 F.3d at 586 (defining public controversy as “the progress of
   political and economic reform in Serbia and the integration of Serbia into international
   institutions” post-Milosevic) (citation omitted); OAO Alfa Bank v. Center for Pub. Integrity, 387
   F. Supp. 2d 20, 43 (D.D.C. 2006) (public controversy regarding rise of oligarchs and decline of
   Russian economy into a “criminal-syndicalist state”).


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          C.      Plaintiffs Voluntarily Involved Themselves In these Public Controversies
          The second prong of the test requires the court to “examine the plaintiffs’ involvement in
   the controvers[ies],” Silvester, 839 F.2d at 1494, with a particular eye towards whether Plaintiffs
   “voluntarily involved [themselves].” Schiller v. Viacom, Inc., No. 1:15-cv-22129-UU, 2016 WL
   9280239, at *6 (S.D. Fla. Apr. 4, 2016). This Circuit has emphasized two ways to become
   involved in controversies. One is to affirmatively seek attention in the media and other public
   fora. Silvester, 839 F.2d at 1497. Another is to “voluntarily engage[] in a course [of conduct]
   that was bound to invite attention and comments.” Silvester, 839 F.2d at 1496, quoting
   Rosanova v. Playboy Enters., 411 F. Supp. 440, 444-45 (S.D. Ga. 1976), aff’d, 580 F.2d
   859. For example, “voluntarily entering into a strictly regulated, high profile industry” can
   suffice to “invite[d] public scrutiny, discussions and criticism” even if media attention was not
   sought by the plaintiff. Id. See also Green Group Holdings LLC v. Schaefer, No. 16-00145-CG-
   N, 2016 WL 6023841, at *16 (S.D. Ala. Oct. 13, 2016). Likewise, the fact that a plaintiff had
   publicly associated himself with figures in organized crime made him a limited public figure
   with respect to an article describing him as a “mobster.” Rosanova, 411 F. Supp. at 444-45.
           Here, Plaintiffs have involved themselves in public controversies both by engaging with
   the media and by their conduct. They spent years aggressively soliciting, and receiving, media
   attention as one of the supposed “giants” in the internet world and as forward-looking “thought
   leaders” in the cyber-technology sector, including specifically as self-described experts for
   journalists covering cybersecurity in general and the Russian internet sector in particular. They
   have repeatedly touted “the expertise developed by all the companies under the XBT umbrella in
   dealing with threats to security” and claimed to offer customers “a service that will make the
   online world a safer place.” Supra at 4. And notwithstanding the controversial nature of cyber-
   activity in Russia, Plaintiffs aggressively promoted themselves in press conferences and
   interviews as “the foundation of the development of the Russian market’s international potential”
   and as a means to comply with Russia’s controversial data privacy laws. Supra at 6.
          Gubarev also sought prominent speaking roles at international conferences attended and
   sponsored by Russian officials.


               And while those facts alone would be sufficient to render Plaintiffs public figures,
   here they even also publicly weighed in on the narrowest relevant controversy: Russia’s role in



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   the 2016 election. Moreover, it was no accident that an Internet executive from Cyprus was
   asked by a reporter for one of the world’s largest business media to comment on that topic, as
   that reporter’s (Mr. Bershidsky) affidavit makes clear. Dkt. 208-3. Rather, that reporter only
   thought to contact Gubarev because Bloomberg had previously interviewed him as a direct result
   of Plaintiffs’ aggressive efforts to offer themselves to journalists. See supra at 4, 7-8.
          Plaintiffs’ conduct also invited scrutiny.


                                                                            See Waldbaum, 627 F.2d
   at 1299 (president of supermarket cooperative who was a “leading advocate of certain precedent-
   breaking policies” within his industry and was personally involved in monthly publication of
   company’s newspaper was a limited public figure).
                                                           See supra at 2-3.




                                        is also a prime target for copyright thieves, and Webzilla has
   been the subject of multiple public reports to U.S. government authorities on that subject.13
          Plaintiffs also chose to enter the Russian internet market by linking their business to its
   controversial data privacy laws and positioning themselves as transformative players in that
   market. Indeed, after the Dossier was published journalists noted the connection between the
   13
     See, e.g., Ex. 134 at 6 (2015 Motion Picture Association of America report to U.S. Copyright
   Office stating that Webzilla hosted more than half the “cyberlocker” sites in the U.S. used by
   copyright thieves); Ex. 135, App’x C at 12 (2015 Joint Comments to U.S. Copyright Office of 18
   music-related association’s noting Webzilla’s practices).


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   Plaintiffs’ prior conduct and Steele’s allegations:
          One reason XBT and Gubarev may have drawn suspicion is that their success in
          the open United States and European markets led to an expansion into Russia last
          year. The XBT subsidiary Servers.com opened its Russian operation
          initially with 500 servers in Moscow, where the Internet is tightly controlled by
          the Kremlin’s intelligence and military services. Since 2016, Russia has required
          that Internet providers there store data on servers there, giving Russia both a grip
          on information and the ability to thwart investigations elsewhere.

   Ex. 136. Moreover, Plaintiffs themselves have consistently maintained that they were included
   in the Dossier because they drew attention to themselves by publicly casting doubt on the Slate
   story. SUMF ¶ 78. Thus, Plaintiffs have also “voluntarily engage[] in a course [of conduct] that
   was bound to invite attention and comments.” Silvester, 839 F.2d at 1496 [citation omitted].
          The case law addressing the public figure status of corporations and/or their executives
   reinforces why Plaintiffs are limited public figures. Plaintiffs spend most of their Motion citing
   cases holding that garden-variety, commercial advertisements do not necessarily configure
   public figure status. True enough, but this case has nothing to do with that. Rather, the law is
   clear that corporate plaintiffs who voluntarily engage with the press or with public issues have
   consistently held to be limited public figures – whether through advertisements or, like Plaintiffs,
   by soliciting journalists to write about them and/or entering controversial business sectors. Long
   v. Cooper, 848 F.2d 1202, 1205 (11th Cir. 1988) (advertisements may result in public figure
   status, but not where their content “[n]ever commented upon or in any way addressed” any
   controversial topics); Mile Marker, Inc. v. Petersen Publ’g, L.L.C., 811 So. 2d 841, 846 (4th
   DCA 2002) (“courts should examine the nature and extent of the advertising and publicity
   campaigns previously undertaken by the claimant, paying particular attention to the pursuit of a
   marketing strategy that emphasizes the controversy”). For example, in Waldbaum, the plaintiff
   was the president of a supermarket cooperative who, like Gubarev, “did not become merely a
   boardroom president whose vision was limited to the balance sheet,” but one who also sought to
   vigorously publicize himself and his companies as innovators in the industry. 627 F.2d at 1300.
   The D.C. Circuit noted that, having “stepp[ed] into the public spotlight . . . he must take the good
   with the bad.” Id. at 1294-95. In Silvester, the plaintiffs were owners of jai alai frontons who
   were limited public figures because, like Plaintiffs here, they promoted their role in a
   controversial industry. In Trotter v. Jack Anderson Enterprises, Inc., 818 F.2d 431 (5th Cir.



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   1987), the president of a Guatemalan soft drink bottling company was deemed a limited public
   figure for purposes of a controversy over labor conflict, even though, unlike Plaintiffs here, the
   plaintiff had “limit[ed] public comment” and “maintain[ed] a low public profile.” Id. at 436.14
          Here, too, Plaintiffs did not merely circulate advertisements claiming that their servers
   were well-built or attractively priced. See, e.g., Long, 848 F.2d at 1204. Rather, they undertook
   a systematic effort to “maintain persistent citation level across business media with . . . experts’
   comments” about controversial, cyber-related topics. Supra at 6. They were even professionally
   trained on “how to talk to a journalist.” Id. And while Plaintiffs in their Motion repeatedly
   claim their motive for seeking press was to make money, the same could likely be said for all
   business plaintiffs and makes no difference. Silvester v. Am. Broad. Cos., 650 F. Supp. 766, 776
   (S.D. Fla. 1986), aff’d, 839 F.2d 1491 (11th Cir. 1988) (it is irrelevant that plaintiffs’ motive for
   seeking attention may have been to “promote[] their business ventures in the hearty spirit of
   capitalism”). Accordingly, the record reflects that Plaintiffs affirmatively thrust themselves into
   the “vortex” of public controversies concerning cybersecurity, technology, and the Russian tech
   sector. Dacey v. Fla. Bar, Inc., 427 F.2d 1292, 1295 (5th Cir. 1970).
          D.      The Dossier is Germane to Plaintiffs’ Participation in the Controversies
          The third factor considers whether the defamatory statements relate to Plaintiffs’
   participation in those public controversies. To avoid second-guessing editorial decisions, this
   factor may be satisfied as long as the statements are not “wholly unrelated” to the controversies.
   Waldbaum, 627 F.2d at 1298. Here, the Dossier’s contents are plainly germane to Plaintiffs’
   participation in controversies regarding cybersecurity in general, Russian tech in particular, and
   the 2016 election.




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      See also Maverick Boat Co. v. American Marine Holdings, Inc., Nos. 02-14102-CIV, 02-
   14283-CIV, 2004 WL 1093035, at *13 (S.D. Fla. Feb. 10, 2004) (boat manufacturers were
   limited public figures where they engaged in “extensive” advertising and “took affirmative steps
   to influence the public’s perception of their product”), aff’d, 418 F.3d 1186 (11th Cir. 2005);
   OAO Alfa Bank, 387 F. Supp. 2d at 45-46 (plaintiff bank and its owners were limited public
   figures where they had “written articles in Russian newspapers, given interviews to newspapers
   and other media outlets . . . spoken on economic reform issues to international audiences, and
   developed a well-coordinated and sophisticated public relations strategy”).


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   Dated: September 21, 2018       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
   will be served electronically by email on all counsel or parties of record on the service list below
   this 21st day of September, 2018.



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